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                                                                 EXHIBIT A
                                               Lordstown Motors Corp., et al. - CASE NO: 23-10831
                                                         DETAIL OF TIME ENTRIES
                                       FOR THE PERIOD FROM NOVEMBER 1, 2023 TO NOVEMBER 30, 2023

  PROFESSIONAL            DATE                                            DESCRIPTION                                          HOURS   RATE      AMOUNT
Plan of Reorganization/Disclosure Statement
Robert Winning          11/2/2023 Analysis of post-effective date information requirements                                      1.2     $1,150     $1,380.00
Robert Winning          11/3/2023 Post-effective transition planning                                                            1.3     $1,150     $1,495.00
Robert Winning          11/7/2023 Plan for transition from pre-effective to post-effective date period                          1.8     $1,150     $2,070.00
Robert Winning         11/10/2023 Continued analysis of transition planning for effective date to post-effective date period    1.8     $1,150     $2,070.00
Robert Winning         11/13/2023 Analyze steps for emergence                                                                   0.8     $1,150      $920.00
Robert Winning         11/15/2023 Analysis of information needed for plan supplement                                            2.2     $1,150     $2,530.00
Robert Winning         11/16/2023 Prepare for and participate in OEC meeting to interview prospective board candidates          2.4     $1,150     $2,760.00
Robert Winning         11/16/2023 Continued planning for transition post-effective date                                         2.3     $1,150     $2,645.00
William Gallagher      11/21/2023 Analyze Board compensation, insurance matters and general go forward management
                                                                                                                                1.0     $1,150     $1,150.00
                                     planning
Robert Winning         11/27/2023 Review of open transition matters                                                              0.7    $1,150      $805.00
Robert Winning         11/27/2023 Analysis re: post-effective date budget                                                        0.8    $1,150      $920.00
Matthew Altman         11/27/2023 Prepare post-effective budget                                                                  1.5     $550       $825.00
Matthew Altman         11/27/2023 Analyze liquidation analysis                                                                   2.7     $550      $1,485.00
Matthew Altman         11/27/2023 Continue to analyze liquidation analysis                                                       2.1     $550      $1,155.00
Matthew Altman         11/28/2023 Analyze post-effective budget                                                                  1.0     $550       $550.00
Robert Winning         11/28/2023 Participate in call with insurance broker re: post-effective date insurance                    0.5    $1,150      $575.00
Robert Winning         11/28/2023 Attention to matters re: retention of insurance post-effective date                            0.7    $1,150      $805.00
Robert Winning         11/28/2023 Analyze potential updates to liquidation analysis                                              0.8    $1,150      $920.00
Robert Winning         11/28/2023 Correspondence with A. Kroll (Lordstown) re: plan supplement                                   0.4    $1,150      $460.00
Matthew Altman         11/29/2023 Prepare updates to the LMC post-emergence budget                                               1.7     $550       $935.00
Robert Winning         11/29/2023 Continued attention to matters re: plan supplement                                             1.4    $1,150     $1,610.00
Robert Winning         11/29/2023 Review potential revisions to plan                                                             1.2    $1,150     $1,380.00
Robert Winning         11/30/2023 Participate in call with A. Kroll (Silverman) re: plan supplement                              0.3    $1,150      $345.00
Robert Winning         11/30/2023 Continued attention to plan supplement                                                         0.8    $1,150      $920.00
                                                                                 Plan of Reorganization/Disclosure Statement    31.4              $30,710.00

General Correspondence with Debtor & Debtors' Professionals
Robert Winning         11/1/2023 Participate in call with A. Kroll (Lordstown) re: post-confirmation planning                   0.5     $1,150      $575.00
Robert Winning         11/2/2023 Participate in call with M. Altman (M3), A. Lo (M3), A. Kroll, Huron, and Silverman on
                                                                                                                                0.5     $1,150      $575.00
                                   claims reconciliation
Matthew Altman         11/2/2023 Participate in call with A. Lo (M3), R. Winning (M3), A. Kroll, Huron, and Silverman on
                                                                                                                                0.7       $550      $385.00
                                   claims reconciliation
Anthony Lo             11/2/2023 Participate in call with M. Altman (M3), R. Winning (M3), A. Kroll, Huron, and Silverman
                                                                                                                                0.7       $750      $525.00
                                   on claims reconciliation
Matthew Altman         11/7/2023 Participate in call with E. Hammes (Silverman) re: claims reconciliation                       0.4      $550       $220.00
Lyle Bauck             11/9/2023 Participate in call with C. Tsitsis (Silverman) re: unliquidated claims.                       0.2     $1,150      $230.00
Matthew Altman         11/9/2023 Correspond with Silverman re: claims analysis                                                  0.8      $550       $440.00
Matthew Altman        11/13/2023 Draft correspondence with Silverman on Employee RSUs                                           0.5      $550       $275.00
Robert Winning        11/16/2023 Call with D. Turetsky (White & Case) re: plan supplement                                       0.8     $1,150      $920.00
Matthew Altman        11/17/2023 Participate in call with A. Kroll (Lordstown) and R. Winning (M3) to discuss emergence
                                                                                                                                0.6       $550      $330.00
                                   planning and budgeting
Robert Winning        11/17/2023 Participate in call with A. Kroll (Lordstown) and M. Altman (M3) to discuss emergence
                                                                                                                                0.6     $1,150      $690.00
                                   planning and budgeting
Matthew Altman        11/21/2023 Participate in meeting with A. Kroll (Lordstown), M. Port (Lordstown), and R. Winning
                                                                                                                                1.0       $550      $550.00
                                   (M3) on budget
Robert Winning        11/21/2023 Participate in meeting with A. Kroll (Lordstown), M. Port (Lordstown), and M. Altman
                                                                                                                                1.0     $1,150     $1,150.00
                                   (M3) on budget
Matthew Altman        11/28/2023 Review correspondence from A. Kroll (Lordstown) and M. Port (Lordstown) Re: Post-
                                                                                                                                0.5       $550      $275.00
                                   Effective budget
Matthew Altman        11/29/2023 Participate in meeting with J. Boffi (M3), A. Crnkovich (Silverman), S. Kohler
                                                                                                                                0.5       $550      $275.00
                                   (Silverman), and other on the waterfall
Jonathan Boffi        11/29/2023 Participate in meeting with M. Altman (M3), A. Crnkovich (Silverman), S. Kohler
                                                                                                                                0.5       $945      $472.50
                                   (Silverman), and other on the waterfall
Matthew Altman        11/30/2023 Participate in meeting with E. Hammes (Silverman) on professional fees and claims               0.5      $550      $275.00
                                                             General Correspondence with Debtor & Debtors' Professionals        10.3               $8,162.50
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  PROFESSIONAL           DATE                                             DESCRIPTION                                              HOURS   RATE      AMOUNT
Financial & Operational Matters
Lyle Bauck              11/1/2023   Analyze and review draft employment agreement and relates claims proposal; read and
                                                                                                                                    0.3     $1,150      $345.00
                                    review correspondence from R. Winning (M3) and W. Gallagher (M3) regarding sae
Matthew Altman          11/1/2023   Perform analysis related to contract rejections                                                 1.1      $550       $605.00
Matthew Altman          11/1/2023   Perform analysis related to employment matters                                                  1.2      $550       $660.00
Matthew Altman         11/16/2023   Analysis re: on board compensation                                                              2.0      $550      $1,100.00
Robert Winning         11/21/2023   Analyze post-effective date expenditures                                                        1.8     $1,150     $2,070.00
Robert Winning         11/22/2023   Analyze issues re: go-forward registration statements                                           1.3     $1,150     $1,495.00
Robert Winning         11/22/2023   Update waterfall projections                                                                    1.2     $1,150     $1,380.00
Matthew Altman         11/28/2023   Prepare updates to waterfall analysis re: potential settlements and updated unsecured claims
                                                                                                                                    2.8       $550     $1,540.00
Matthew Altman         11/28/2023   Analyze updated waterfall analysis from debtors                                                 1.1       $550      $605.00
Matthew Altman         11/28/2023   Analyze updated waterfall analysis from debtors                                                 2.1       $550     $1,155.00
Matthew Altman         11/28/2023   Analyze updated rejection damages claims and associated interest in refreshed waterfall
                                                                                                                                    0.4       $550      $220.00
                                    analysis from debtors
Robert Winning         11/28/2023   Analysis of waterfall analysis                                                                  1.2     $1,150     $1,380.00
Matthew Altman         11/28/2023   Prepare and draft correspondence to R. Winning (M3) re: updated waterfall analysis              0.7      $550       $385.00
Matthew Altman         11/29/2023   Participate in a meeting with R. Winning (M3) and J. Boffi (M3) on open diligence items
                                                                                                                                    0.5       $550      $275.00
                                    and the waterfall analysis
Jonathan Boffi         11/29/2023   Participate in a meeting with R. Winning (M3) and M. Altman (M3) on open diligence
                                                                                                                                    0.5       $945      $472.50
                                    items and the waterfall analysis
Matthew Altman         11/29/2023   Review and edit the recovery analysis with updates to claims and admin & priority items
                                                                                                                                    2.4       $550     $1,320.00
Matthew Altman         11/29/2023   Prepare agenda for call with debtors advisors                                                    0.7      $550      $385.00
Matthew Altman         11/29/2023   Analyze waterfall analysis GUC claims, GUC interest, other reserves                              2.1      $550     $1,155.00
Jonathan Boffi         11/29/2023   Review and analyze draft waterfall analysis                                                      4.1      $945     $3,874.50
Matthew Altman         11/30/2023   Analysis re: board compensation                                                                  2.3      $550     $1,265.00
Matthew Altman         11/30/2023   Continue to analyze potential board compensation                                                 2.8      $550     $1,540.00
Matthew Altman         11/30/2023   Analyze disputed claims and potential options                                                    0.8      $550      $440.00
Matthew Altman         11/30/2023   Review and edit waterfall analysis re: updated complex claims                                    1.3      $550      $715.00
                                                                                            Financial & Operational Matters         34.7              $24,382.00

General Correspondence with Other Professionals
Robert Winning       11/2/2023 Participate in call with Brown Rudnick team re: post-effective date planning                         0.5     $1,150      $575.00
Matthew Altman       11/6/2023 Draft Correspondence with Brown Rudnick on diligence items and fee applications                      1.0      $550       $550.00
Matthew Altman       11/7/2023 Correspond with Brown Rudnick re: D&O policies                                                       0.7      $550       $385.00
Matthew Altman       11/8/2023 Draft correspondence with M3 & Brown Rudnick re: diligence items, claims, and cash
                                                                                                                                    0.7       $550      $385.00
                                  flows
Matthew Altman       11/9/2023 Participate in meeting with B. Silverberg (Brown Rudnick), and K. Brown (Brown
                                                                                                                                    0.5       $550      $275.00
                                  Rudnick) on employee matters
Matthew Altman       11/9/2023 Participate in meeting with B. Silverberg (Brown Rudnick) on employee matters                        0.7       $550      $385.00
Lyle Bauck           11/10/2023 Participate in meeting with L. Bauck (M3), R. Winning (M3), A. Lo (M3), R. Stark (Brown
                                  Rudnick), B. Silverberg (Brown Rudnick), and the EOC on weekly status updates                     1.1     $1,150     $1,265.00

Anthony Lo             11/10/2023   Participate in meeting with L. Bauck (M3), R. Winning (M3), A. Lo (M3), R. Stark (Brown
                                    Rudnick), B. Silverberg (Brown Rudnick), and the EOC on weekly status updates                   1.2       $750      $900.00

Matthew Altman         11/10/2023   Draft correspondence to Brown Rudnick on diligence items                                        0.3       $550      $165.00
Matthew Altman         11/10/2023   Participate in meeting with B. Silverberg (Brown Rudnick) on employee matters                   0.8       $550      $440.00
Robert Winning         11/10/2023   Participate in meeting with L. Bauck (M3), A. Lo (M3), R. Stark (Brown Rudnick), B.
                                                                                                                                    1.2     $1,150     $1,380.00
                                    Silverberg (Brown Rudnick), and the EOC on weekly status updates
Matthew Altman         11/10/2023   Participate in meeting with L. Bauck (M3), R. Winning (M3), A. Lo (M3), R. Stark (Brown
                                    Rudnick), B. Silverberg (Brown Rudnick), and the EOC on weekly status updates                   1.2       $550      $660.00

Robert Winning         11/29/2023   Participate in a meeting with j. Boffi (M3) and M. Altman (M3) on open diligence items
                                                                                                                                    0.5     $1,150      $575.00
                                    and the waterfall analysis
Matthew Altman         11/30/2023   Draft correspondence to J. Boffi (M3) and R. Winning (M3) re: claims and waterfall               0.7      $550      $385.00
                                                                             General Correspondence with Other Professionals        11.1               $8,325.00

Financing Matters (Cash Budget, Exit, Other)
Matthew Altman        11/1/2023 Perform analysis related to the cash flow forecast                                                  2.4       $550     $1,320.00
Matthew Altman        11/8/2023 Prepare analysis re: cash flow forecast and variance                                                2.1       $550     $1,155.00
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Matthew Altman           11/9/2023    review and edit employee cost analysis                                                       1.4      $550      $770.00
Matthew Altman          11/10/2023    Review claims data from Debtors                                                              1.0      $550      $550.00
Matthew Altman          11/10/2023    Review updated employee cost file                                                            0.4      $550      $220.00
Matthew Altman          11/10/2023    Review and edit employee cost analysis                                                       0.4      $550      $220.00
Matthew Altman          11/12/2023    Review revised motion re: employee claims                                                    0.5      $550      $275.00
Matthew Altman          11/13/2023    Review employee claims motion                                                                0.8      $550      $440.00
Matthew Altman          11/13/2023    Analyze employee claims analysis                                                             0.7      $550      $385.00
Matthew Altman          11/13/2023    Analyze employee stock rights, treatment, and positions                                      3.0      $550     $1,650.00
Matthew Altman          11/15/2023    Analyze cash flow forecast                                                                   0.7      $550      $385.00
Matthew Altman          11/16/2023    Continue to prepare comparable analysis on board compensation                                2.0      $550     $1,100.00
Matthew Altman          11/17/2023    Continue to analyze director compensation at comparable companies                            1.5      $550      $825.00
Matthew Altman          11/18/2023    Analyze Cash Flow forecast and run variance report                                           2.6      $550     $1,430.00
Matthew Altman          11/20/2023    Research Truck Buyback motion                                                                0.9      $550      $495.00
Matthew Altman          11/21/2023    Research board compensation                                                                  1.0      $550      $550.00
Matthew Altman          11/27/2023    Analyze cash flow forecast and budget                                                        2.4      $550     $1,320.00
Matthew Altman          11/28/2023    Analyze cash flow forecast and prepare consolidated forecast                                 3.0      $550     $1,650.00
Matthew Altman          11/29/2023    Analyze cash flow forecast refresh for week ending 12/2                                      2.3      $550     $1,265.00
                                                                                 Financing Matters (Cash Budget, Exit, Other)     29.1              $16,005.00

Investigations and Litigation Support
Matthew Altman           11/8/2023 Analyze VDR for diligence items                                                                0.3      $550       $165.00
Matthew Altman          11/14/2023 Prepare diligence materials for counsel                                                        0.3      $550       $165.00
Robert Winning          11/20/2023 Review materials re: outstanding litigation                                                    2.2     $1,150     $2,530.00
                                                                                        Investigations and Litigation Support     2.8                $2,860.00

Claims/Liabilities Subject to Compromise
Matthew Altman           11/2/2023 Perform analysis re: claims reconciliation                                                     0.4      $550       $220.00
William Gallagher        11/2/2023 Call to discuss employee bonuses and severance                                                 0.8     $1,150      $862.50
Lyle Bauck               11/7/2023 Analyze and review summary of general unsecured claims provided by the Debtors;
                                                                                                                                  0.7     $1,150      $805.00
                                    discussion with M. Altman (M3) regarding same
Matthew Altman           11/7/2023 Analyze claims reconciliation from Silverman re: OEC presentation materials                    2.0       $550     $1,100.00
Lyle Bauck               11/8/2023 Continue to analyze and review summary of general unsecured claims provided by the
                                                                                                                                  0.8     $1,150      $920.00
                                    Debtors
Matthew Altman           11/8/2023 Perform analysis and diligence re: claims analysis                                              1.7     $550       $935.00
Lyle Bauck               11/9/2023 Analyze and review summary of unliquidated claims provided by the Debtors                       0.7    $1,150      $805.00
Matthew Altman           11/9/2023 Analyze unliquidated claims file                                                                1.1     $550       $605.00
Robert Winning          11/20/2023 Review materials re: vehicle buyback                                                            1.2    $1,150     $1,380.00
Robert Winning          11/21/2023 Continued analysis re: vehicle repurchase program                                               1.2    $1,150     $1,380.00
Robert Winning          11/22/2023 Review information re: unsecured claims                                                         1.4    $1,150     $1,610.00
William Gallagher       11/28/2023 Participate in call to review and discuss existing and go forward D&O insurance                 0.5    $1,150      $575.00
                                                                                      Claims/Liabilities Subject to Compromise    12.5              $11,197.50

Fee Application
Anthony Lo               11/2/2023    Review the draft fee application                                                            0.4       $750      $300.00
Matthew Altman           11/2/2023    Participate in discussion re: fee application draft with A. Lo (M3)                         0.2       $550      $110.00
Matthew Altman           11/2/2023    Prepare September fee application                                                           2.6       $550     $1,430.00
Matthew Altman           11/2/2023    Continue to prepare September fee application                                               1.1       $550      $605.00
Lyle Bauck               11/3/2023    Review M3 September fee application exhibits; discussion with M. Altman (M3) regarding
                                                                                                                                  0.4     $1,150      $460.00
                                      same
Matthew Altman           11/3/2023    Prepare September Fee Application                                                           2.2      $550      $1,210.00
Matthew Altman           11/3/2023    Continue to prepare September fee application                                               1.8      $550       $990.00
Anthony Lo               11/3/2023    Review fee application draft                                                                0.4      $750       $262.50
Lyle Bauck               11/5/2023    Review M3 September fee application in accordance with local rules                          1.3     $1,150     $1,495.00
Lyle Bauck               11/6/2023    Review and revise M3 September fee application in accordance with local rules               0.9     $1,150     $1,035.00
Robert Winning           11/6/2023    Revise September fee statement                                                              0.7     $1,150      $805.00
Matthew Altman           11/6/2023    Develop September Fee Application                                                           2.5      $550      $1,375.00
Matthew Altman           11/7/2023    Prepare materials for October fee application                                               1.0      $550       $550.00
Matthew Altman           11/8/2023    Review and edit September fee application                                                   1.0      $550       $550.00
Matthew Altman          11/13/2023    Review and edit interim fee application                                                     1.0      $550       $550.00
Matthew Altman          11/14/2023    Prepare interim fee application                                                             1.0      $550       $550.00
Matthew Altman          11/14/2023    Continue to prepare interim fee application                                                 1.3      $550       $715.00
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  PROFESSIONAL       DATE                                            DESCRIPTION                                           HOURS   RATE      AMOUNT
Matthew Altman     11/16/2023   Prepare October fee application                                                              1.0     $550       $550.00
Matthew Altman     11/21/2023   Prepare exhibits for October Fee Application                                                 2.2     $550      $1,210.00
Matthew Altman     11/21/2023   Continue to prepare legal document for Lordstown October Fee Application                     3.0     $550      $1,650.00
Matthew Altman     11/21/2023   Continue to prepare fee application exhibits for court                                       1.0     $550       $550.00
Lyle Bauck         11/22/2023   Review M3 October fee application in accordance with local rules                             1.2    $1,150     $1,380.00
Matthew Altman     11/22/2023   Prepare exhibits for Lordstown Fee Application                                               2.0     $550      $1,100.00
Matthew Altman     11/27/2023   Prepare October Fee statement schedules                                                      2.9     $550      $1,595.00
                                                                                                       Fee Application      33.1              $21,027.50

Employee Matters
Matthew Altman     11/1/2023    Draft correspondence on diligence items pertaining to employment matters and litigation
                                                                                                                            0.7       $550      $385.00
Robert Winning      11/2/2023   Prepare materials for Debtors: re: employment agreements                                     1.2    $1,150     $1,380.00
Matthew Altman      11/2/2023   Perform analysis related to costs re: employment matters                                     1.1     $550       $605.00
Robert Winning      11/4/2023   Analyze Debtor response re: employment contracts                                             0.8    $1,150      $920.00
Robert Winning      11/6/2023   Analyze employment contract rejections                                                       2.4    $1,150     $2,760.00
Matthew Altman      11/8/2023   Review and edit financial analysis re: employee matters                                      1.1     $550       $605.00
Robert Winning      11/8/2023   Revise settlement terms re: employee rejection claims                                        1.8    $1,150     $2,070.00
Matthew Altman      11/8/2023   Analyze settlement terms re: employee rejection claims                                       1.5     $550       $825.00
Robert Winning      11/8/2023   Attention to matters re: employee contract rejection settlement                              1.3    $1,150     $1,495.00
Robert Winning      11/9/2023   Continued analysis of employee contract rejection settlement proposal                        1.3    $1,150     $1,495.00
Robert Winning     11/10/2023   Analysis and revision to employee contract rejection settlement                              1.3    $1,150     $1,495.00
                                                                                                        Employee Matters    14.5              $14,035.00
                                                                                                   Hours and Fees Total    179.4             $136,704.50
